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           IN THE        UNITED   STATES   DISTRICT      COURT    FOR THE
                         SOUTHERN DISTRICT         OF   GEORGIA
                                  AUGUSTA DIVISION




UNITED    STATES     OF AMERICA            *


              vs.                          *        CR   113-220


NAUN    PADILLA                            *




                                     ORDER




        On June 3, 2016, this Court denied Defendant relief under

18   U.S.C.      §   3582(c)(2)       after    a    thorough       review   of   the

applicability of Amendment 782 to the United States Sentencing

Guidelines.          A   few days thereafter,            Defendant sent to the

Court for filing1 a motion seeking a reduction under this same

guideline amendment.              Because the Court has already ruled on

this issue, the motion (doc. no. 4 83) is DENIED AS MOOT.                        The

Clerk is directed to attach a copy of the Order of June 3,

2 016, to the service copy of this Order.

        ORDER ENTERED at Augusta, Georgia, this &£&r^ day of
July,    2016.




                                               HON0RABLE J. ^RANDAL HALL
                                               UNITED^STATES DISTRICT JUDGE
                                               SOUTHERN DISTRICT OF GEORGIA




        1 The envelope containing the filing was postmarked on
June 7,    2016.
